     Case 2:16-cv-08697-MWF-SS Document 314 Filed 11/26/18 Page 1 of 2 Page ID #:11090


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                                                                        FILED
                   2                                          CLERK, U.S. DISTRICT COURT


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                                                                 November 26, 2018
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                                                            CENTRAL DISTRICT OF CALIFORNIA
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              12                       UNITED STATES DISTRICT COURT
              13                     CENTRAL DISTRICT OF CALIFORNIA
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              15       UNITED STATES OF AMERICA ex rel.   CASE NO. 2:16-cv-08697-MWF(SSx)
                       BENJAMIN POEHLING,
              16                                          [Discovery Document: Referred to
              17                   Plaintiff,             Magistrate Judge Suzanne H. Segal]
              18            v.
                                                          [PROPOSED] ORDER GRANTING
              19       UNITEDHEALTH GROUP, INC. et al.,   EXTENSION OF PAGE AND TIME
                                                          LIMITATIONS REGARDING
              20
                                   Defendants.            SUPPLEMENTAL MEMORANDA
              21                                          TO UNITED’S MOTION TO
                                                          COMPEL
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                                                            [PROPOSED] ORDER GRANTING EXTENSION
ATTORNEYS AT LAW
  LOS AN GE LES
                                                                    OF PAGE AND TIME LIMITATIONS
                                                                      Case No. 2:16-cv-08697-MWF(SSx)
     Case 2:16-cv-08697-MWF-SS Document 314 Filed 11/26/18 Page 2 of 2 Page ID #:11091


                   1         Upon stipulation of the parties, IT IS HEREBY ORDERED as follows:
                   2         The parties may each file Supplemental Memoranda of Law concerning the
                   3 parties’ Joint Stipulation Regarding United’s Motion to Compel the United States
                   4 to Produce Documents not exceeding fifteen (15) pages on or before November 30,
                   5 2018.
                   6         IT IS SO ORDERED.
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               9 Dated:_______________
                        November 26, 2018                     _________________________________
                                                                           /S/
              10                                              Honorable Suzanne H. Segal
                                                              United States Magistrate Judge
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                                                                    [PROPOSED] ORDER GRANTING EXTENSION
ATTORNEYS AT LAW
  LOS AN GE LES                                                2            OF PAGE AND TIME LIMITATIONS
                                                                               Case No. 2:16-cv-08697-MWF(SSx)
